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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TAMARA SHANAHAN,                                 :
                                                  :
                        Plaintiff,                :
                                                  :
         v.                                       :    NO. 2:21-CV-00595-TJS
                                                  :
 ETHAN ALLEN RETAIL, INC., KATE                   :
 SAVINO, and ROBERT KALINA                        :
                                                  :
                        Defendants.               :

            MOTION OF DEFENDANTS ETHAN ALLEN RETAIL, INC.,
         KATE SAVINO, AND ROBERT KALINA FOR SUMMARY JUDGMENT

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure, for the reasons set forth in

the accompanying Brief in Support of the Motion of Defendants Ethan Allen Retail, Inc., Kate

Savino, and Robert Kalina for Summary Judgment, the Statement of Undisputed Facts in

Support of the Motion of Defendants Ethan Allen Retail, Inc., Kate Savino, and Robert Kalina

for Summary Judgment, and all exhibits thereto, Defendants Ethan Allen Retail, Inc., Kate

Savino, and Robert Kalina, by and through their undersigned counsel, Fisher & Phillips LLP,

hereby respectfully request that the Court enter an Order granting summary judgment against

Plaintiff Tamara Shanahan (“Plaintiff”) on all claims asserted by Plaintiff in Plaintiff’s

Complaint because there are no genuine issues of material fact and Defendants are entitled to

judgment as a matter of law.




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                                             FISHER & PHILLIPS LLP

Date: November 26, 2021                      /s/ Christina M. Michael
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                                             Inc., Kate Savino, and Robert Kalina




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                                 CERTIFICATE OF SERVICE

        I, Christina M. Michael, Esquire, hereby certify that on this 26th day of November, 2021,

a true and correct copy of the foregoing Motion of Defendants Ethan Allen Retail, Inc., Kate

Savino, and Robert Kalina for Summary Judgment, Proposed Order, Brief in Support of the

Motion Defendants Ethan Allen Retail, Inc., Kate Savino, and Robert Kalina for Summary

Judgment, Statement of Undisputed Facts in Support of the Motion of Defendants Ethan Allen

Retail, Inc., Kate Savino, and Robert Kalina for Summary Judgment, and all exhibits thereto,

were filed via the Court’s electronic filing system and were served upon the following attorneys

via the Court’s electronic filing system:

                               Jennifer C. Bell, Esquire
                               Christopher A. Macey, Jr., Esquire
                               BELL & BELL, LLP
                               One Penn Center, Suite 1254
                               Philadelphia, PA 19103
                               Counsel for Plaintiff Tamara Shanahan



                                             By:    /s/ Christina M. Michael
                                                    Christina M. Michael, Esquire




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